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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                          )
                                                   )
                       Plaintiff,                  )
                                                   )                    8:05CR199
       vs.                                         )
                                                   )                 TRIAL ORDER
DUANE CHARLES ANDERSON,                            )
JOSE C. CONTRERAS-CORTEZ,                          )
JOSUE MARTIN RODRIGUEZ-LOPEZ                       )
and JOSE HERNANDEZ-MENDOZA,                        )
                                                   )
                       Defendants.                 )


         This matter is before the court on the motion of Josue Martin Rodriguez-Lopez to continue
the trial presently set for April 4, 2006. The defendant has complied with NECrimR 12.1. For good
cause shown, I find that the motion should be granted.

       IT IS ORDERED that the motion (#80) is granted, as follows:

       1. Trial of this matter is continued from April 4, 2006 to May 23, 2006 before Judge Laurie
Smith Camp and a jury.

        2. The ends of justice will be served by granting such motion and outweigh the interests of
the public and the defendant in a speedy trial. Any additional time arising as a result of the granting
of this motion, that is, the time between April 4, 2006 and May 23, 2006, shall be deemed
excludable time in any computation of time under the requirement of the Speedy Trial Act for the
reasons stated in the motion, and considering the diligence of counsel. The failure to grant additional
time might result in a miscarriage of justice. 18 U.S.C. § 3161(h)(8)(A) & (B).

       3. Counsel for the United States shall confer with defense counsel and, no later than May
15, 2006, advise the court of the anticipated length of trial.

       DATED March 27, 2006.

                                               BY THE COURT:

                                               s/ F.A. Gossett
                                               United States Magistrate Judge
